
625 So.2d 1051 (1993)
STATE ex rel. Thomas GREEN, Jr.
v.
John P. WHITLEY, Warden.
No. 93-KH-2503.
Supreme Court of Louisiana.
October 15, 1993.
Granted. The district court is ordered to grant relator an out-of-time appeal and to appoint counsel to handle the appeal. See Lofton v. Whitley, 905 F.2d 885 (5th Cir. 1990). If appointed counsel, after review of the record, finds no basis for assigning error on appeal, he or she may follow the procedure outlined in State v. Benjamin, 573 So.2d 528 (La.App. 4th Cir.1990).
HALL, J., not on panel.
